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                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                    EL PASO DIVISION

LEAGUE OF UNITED LATIN                               §
AMERICAN CITIZENS, et al.,                           §
                                                     §
                Plaintiffs,                          §
                                                     §
EDDIE BERNICE JOHNSON, et al.,                       §        EP-21-CV-00259-DCG-JES-JVB
                                                                      [Lead Case]
                                                     §
                Plaintiff-Intervenors,               §
                                                                                 &
v.                                                   §
                                                     §              All Consolidated Cases
GREG ABBOTT, in his official capacity as             §
Governor of the State of Texas, et al.,              §
                                                     §
                Defendants.                          §

                            NOTICE TO INTERVENOR PLAINTIFFS

        On May 13, 2025, the Court dismissed the Intervenor Plaintiffs’ challenge to

Congressional District 18 because there’s no longer any living Intervenor who has standing to

challenge that district.1 On May 15, 2025, however, the Intervenors filed a pretrial brief that

suggests that they still plan to pursue their CD18 challenge at trial.2




        1
          See Order Granting Mot. Dismiss, ECF No. 972, at 1 (dismissing “all congressional intervenors’
claims related to Congressional District 18 (CD 18)” now that the only Intervenor challenging CD18 is
deceased).
        2
          See, e.g., Intervenors’ 1st Am. Pretrial Brief, ECF No. 989, at 1 (“The evidence will show that
the Texas Legislature engaged in intentional racial discrimination and racial gerrymandering in the
drawing of Congressional Districts 9, 18, and 30 . . . .” (emphasis added)); id. at 2 (stating that “the
evidence will demonstrate” that “the Legislature engaged in unnecessary surgery on . . . Congressional
Districts 9, 18, and 30” (emphases added)); id. at 3 (asserting that “[t]he Court previously determined that
Congressional Intervenors have standing to challenge the redistricting of CD 9, 18, and 30”—without
mentioning the Court’s subsequent order concluding that none of the living Intervenors has standing to
challenge CD18 (emphasis added)); id. at 4 (summarizing evidence pertaining to CD18, apparently with
the intent to introduce that evidence at trial).


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       The Court therefore NOTIFIES the Intervenors that the Court will NOT permit them to

pursue claims at trial that the Court has dismissed.



       So ORDERED and SIGNED this 16th day of May 2025.




                                                  ____________________________________
                                                  DAVID C. GUADERRAMA
                                                  SENIOR U.S. DISTRICT JUDGE

                                         And on behalf of:

           Jerry E. Smith                                         Jeffrey V. Brown
     United States Circuit Judge                 -and-       United States District Judge
 U.S. Court of Appeals, Fifth Circuit                         Southern District of Texas




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